                              Case 21-03000-sgj Doc 14-7 Filed 01/10/21                                   Entered 01/10/21 17:55:17                      Page 1 of 1




                                                                                                                                  Greater Kansas City                                                The Community
                                                                                                         The Dallas                                                       Santa Barbara
    Highland CLO Funding, Ltd.                                                                          Foundation
                                                                                                                                     Community
                                                                                                                                                                           Foundation
                                                                                                                                                                                                   Foundation of North
                                                                                                                                     Foundation                                                       Texas (CFNT)
    Structure Chart                                                                                     (Third Party)
                                                                                                                                     (Third Party)
                                                                                                                                                                           (Third Party)
                                                                                                                                                                                                       (Third Party)
                                                                                                                100%                          100%                                100%                         100%

                                                                                                       Highland Dallas            Highland Kansas City                Highland Santa Barbara
                                                                  Grant Scott                                                                                                                        HCMLP Charitable
                                                                                                       Foundation, Inc.             Foundation, Inc.                     Foundation, Inc.
                                                               (Managing Member)                                                                                                                           Fund
                                                                                                         (Supporting                  (Supporting                           (Supporting
                                                                 Control Person                                                                                                                    (Donor advised entity)
                                                                                                        Organization)                Organization)                         Organization)

                                                                                  100%                           32.787%                     32.787%                               32.787%                     1.639%
                                                             100%           Management                           Participation               Participation                         Participation               Participation
                                                                                 Shares                          Shares                      Shares                                Shares                      Shares


                                                         Charitable DAF GP, LLC                                                              Charitable DAF HoldCo, Ltd.
                                                                    (Delaware)                                                                        (Cayman Islands)

                                                                                                  1% GP                                                      99% LP
                                           Highland Capital
                                           Management, L.P.                                                                                   Charitable DAF Fund, L.P.
                                                                                 Non-Discretionary
                                                (Delaware)                       Investment Advisory
                                                                                                                                                      (Cayman Islands)
                                                                                 Agreement
                                                                                                                                                                100%

HarbourVest Members           Highland Individuals (Direct              0.63% Member                                                                 CLO HoldCo, Ltd.
                                     and Indirect)                                                                                                    (Cayman Islands)


             49.98% Members                    0.37% Members
                                                                                                                          49.02% Member




                                                                          Highland CLO Funding, Ltd.
                                                                                       (Guernsey)




                                                                                                                                                                            EXHIBIT 9
